Case 9:18-cr-80109-RLR Document 3 Entered on FLSD Docket 05/08/2018 Page 1 of 1
                            UN ITED STA TES DISTR ICT COU RT
                            SO UTH ERN D ISTRICT O F FLOR ID A


                                    Case N o.17-821I-W M
                                                                           FILED dy         D.C.

 IN RE:                                                                       MAt 2 8 2218
 CRIM W A L CO M PLA IN T                                                 ! S(s.
                                                                              7)
                                                                               o.lo:
                                                                                 ')rFbL
                                                                                      i7)
                                                                                     L,  @RB
                                                                                          7.
                                                                                       .-w. E
                                                                                            .


                                      SEA LIN G O RD ER

         TH IS C A U SE isbefore the Courton the G ovenunent'sM otion to Seal. The Courtbeing

 advised in itsprem ises,and good cause having been show n,itis hereby

         O R DE RED AN D AD JU D G ED thatthe m otion is G RA N TED ,and the Clerk of Court

 shallsealthe Com plaint,A ftidavit and W anuntfiled in supportthereof,w ith the exception of a

 copy of the W arrantfor Arrestshallbe provided to the U nited States M arshals Service,untilthe

 defendantisan-ested,atwhich tim e itshallbe deem ed unsealed,oruntilfurtherO rderofthe Court.

      D O N E A N D O R DER ED in Cham bers atW estPalm Beach,Florida,this 8th day ofM ay,

 2018.


                                                Q-.
                                            H O N .W ILLIA M M AT TH EW M M
                                            U NITED STATE S M AG IST M TE JU D GE




 cc:AU SA Jolm C.M cM illan
